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 1   XAVIER BECERRA
     Attorney General of California
 2   ANTHONY R. HAKL
     Supervising Deputy Attorney General
 3   JERRY T. YEN
     Deputy Attorney General
 4   State Bar No. 247988
      1300 I Street, Suite 125
 5    P.O. Box 944255
      Sacramento, CA 94244-2550
 6    Telephone: (916) 210-7836
      Fax: (916) 324-8835
 7    E-mail: Jerry.Yen@doj.ca.gov
     Attorneys for State of California and Xavier
 8   Becerra, in his official capacity as California
     Attorney General
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

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14   EASTON STOKES,                                       3:19-cv-04613-WHA

15                                           Plaintiff,

16                  v.                                    DEFENDANT ATTORNEY GENERAL
                                                          XAVIER BECERRA’S SUPPLEMENTAL
17                                                        BRIEF IN SUPPORT OF HIS MOTION
     THE UNITED STATES DEPARTMENT                         FOR JUDGMENT ON THE PLEADINGS
18   OF JUSTICE, WILLIAM BARR,
     individually and as Attorney General of the
19   United States, THE U.S. BUREAU OF
     ALCOHOL, TOBACCO, FIREARMS AND                       Courtroom: 12
20   EXPLOSIVES (ATF); REGINA                             Judge:        Hon. William Alsup
     LOMARDO individually and as Acting                   Action Filed: August 12, 2019
21   Director of AFT; THE FEDERAL
     BUREAU OF INVESTIGATION;
22   Christopher Wray individually and as
     Director of the Federal Bureau of
23   Investigation; STATE OF CALIFORNIA,
     XAVIER BECERRA, individually and
24   acting as Attorney General of the State of
     California, THE SONOMA COUNTY
25   SHERIFF'S OFFICE, MARK ESSICK,
     individually and as Sheriff of Sonoma
26   County,

27                                       Defendants.

28

                                       Defendant Attorney General Xavier Becerra’s Supplemental Brief in Support
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 1          Defendant Attorney General Xavier Becerra files this memorandum in response to the

 2   Court’s October 22, 2020 and January 26, 2021 Orders Requesting Supplemental Briefing (ECF

 3   Nos. 68 and 81) and in support of his Motion for Judgment on the Pleadings (ECF No. 61). The

 4   Court asked each party to “supplement the record on the pending motions with respect to [any

 5   additional discovery and Plaintiff’s petition in California Superior Court],” and to “include

 6   citations to relevant authorities concerning [Plaintiff’s equal protection and due process claims].”

 7   I.     THE COURT CAN DECIDE ATTORNEY GENERAL BECERRA’S MOTION FOR
            JUDGMENT ON THE PLEADINGS WITHOUT CONSIDERING ADDITIONAL DISCOVERY
 8          OR STATE COURT PROCEEDINGS

 9          As an initial matter, Attorney General Becerra does not believe that the additional discovery

10   or the state court proceedings should impact the analysis of his Motion for Judgment on the

11   Pleadings. As discussed in the Motion, the Eleventh Amendment bars Plaintiff from suing the

12   California Attorney General, and, in fact, Plaintiff’s complaint does not even seek any relief from

13   the California Attorney General. ECF No. 61 at 2-4. Moreover, Plaintiff’s complaint fails to

14   establish that he has standing to sue the California Attorney General because Plaintiff’s inability

15   to possess a firearm under federal law is not connected to any alleged unlawful conduct by the

16   California Department of Justice (CA DOJ). Id. at 4-5.

17          It appears that the only reason Plaintiff has sued the California Attorney General is because

18   Plaintiff’s mental health institution reported to the CA DOJ that Plaintiff was subject to a hold

19   under California Welfare & Institutions Code section 5250 (“5250 hold”). See Plaintiff’s

20   Response to Motion for Judgment on the Pleadings (Response), ECF No. 63 (Sept. 24, 2020), at

21   14; see also Exhibit 1. As a result of the mental health institution’s 5250 hold report, Plaintiff is

22   prohibited from owning a firearm under federal law. 18 U.S.C. § 922(g)(4); Exhibit 1. Plaintiff

23   now claims that his treatment at the mental health institution was voluntary and he should never

24   have been placed on a 5250 hold. Response, at 5, 8, 12.

25          After this Court ordered additional discovery, Plaintiff obtained his medical records from

26   Kaiser and produced them to the defendants. 1 ECF No. 79 (Dec. 3, 2020). The records show

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             After being seen by doctors at Kaiser, Plaintiff was transferred to Oakcrest, another
     mental health facility. Complaint, ECF No. 1, at ¶ 25. The Sonoma County Department of
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 1   that, in March 2002, Plaintiff was brought to the emergency room by his foster parents for

 2   “abnormal behavior,” as well as “depressed and dangerous behavior.” ECF No. 79-1 at 10. The

 3   emergency room doctor also noted that Plaintiff’s foster parents felt that he was a “danger to self

 4   them and his friends” and was “not cooperative with [his] history.” Id. Moreover, another

 5   doctor’s handwritten notes from Plaintiff’s Psychiatric Diagnostic Intake Evaluation state that

 6   Plaintiff had “hit a close friend” and “refused to discuss [the] details.” ECF No. 79 at 1. The

 7   notes from his Chemical Dependency Services Intake Summary say that he “put his hands in a

 8   fire” and “punched his [] friend.” Id. at 7. Those notes also state that Plaintiff was “suspicious”

 9   of his treatment plan. Id. at 10. In sum, nothing in his medical records suggests that the mental

10   health facility improperly placed Plaintiff on a 5250 hold.

11         Nevertheless, Plaintiff filed a petition on November 4, 2020, in Sonoma County Superior

12   Court challenging his 5250 hold. 2 See Plaintiff’s Response to October 22nd Order, ECF No. 73

13   (Nov. 5, 2020) at 40-60. If Plaintiff prevails in his challenge, then the superior court could order

14   the mental health facility to remove the 5250 hold from his record. See, e.g., Exhibit 3 (mental

15   health facility notifying the CA DOJ that a 5250 hold was reported in error). Thus, it is clear that

16   the CA DOJ’s role with respect to Plaintiff’s 5250 hold is clearly administrative, and the Eleventh

17   Amendment bars Plaintiff’s suit against the California Attorney General. See L.A. County Bar

18   Ass 'n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992) (stating that “a generalized duty to enforce state

19   law . . . will not subject an official to suit.”) Accordingly, the Court should grant Attorney

20   General Becerra’s Motion for Judgment on Pleadings.

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24   Public Health has confirmed that those records no longer exist because Plaintiff’s treatment
     occurred more than ten years ago. See Exhibit 2.
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               Pursuant to the Court’s order (ECF No. 68), the California Attorney General advised
26   Plaintiff that he did not wish to participate in the state court action. Although it appears that the
     California Attorney General has been named as a defendant in that action (ECF No. 73 at 40), the
27   California Attorney General has not been served yet with the complaint and summons.
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 1   II.   RESOLUTION OF PLAINTIFF’S SECOND AMENDMENT CHALLENGE LIKELY
           RESOLVES HIS EQUAL PROTECTION AND DUE PROCESS CLAIMS
 2

 3         With respect to Plaintiff’s equal protection and due process claims, Plaintiff asserts both the

 4   Fifth and Fourteenth Amendments. 3 Complaint, ECF No. 1, at ¶¶ 49, 55. However, because

 5   Plaintiff’s complaint challenges the constitutionality of a federal law – 18 U.S.C. § 922(g)(4), the

 6   Fourteenth Amendment does not apply in this case. See Lugar v. Edmondson Oil Co., 457 U.S.

 7   922, 923–24 (1982) (Fourteenth Amendment only applies to state action).

 8         With respect to Plaintiff’s Fifth Amendment claims, those claims are directed at the Federal

 9   Defendants and are based on his Second Amendment challenge to federal law prohibiting him

10   from possessing a firearm. See Complaint, ECF No. 1, at ¶¶ 48-53; see also Bingue v. Prunchak,

11   512 F.3d 1169, 1174 (9th Cir. 2008) (“The Fifth Amendment’s due process clause only applies to

12   the federal government”). Thus, the Federal Defendants are best positioned to provide the

13   relevant authorities regarding those claims.

14         However, the California Attorney General notes that resolution of Plaintiff’s Second

15   Amendment claim would likely resolve his equal protection and due process claims. See Albright

16   v. Oliver, 510 U.S. 266, 274 (1994) (stating that “[w]here a particular Amendment ‘provides an

17   explicit textual source of constitutional protection’ against a particular sort of government

18   behavior, ‘that Amendment, not the more generalized notion of ‘substantive due process’ must be

19   the guide for analyzing these claims.’”) (quoting Graham v. Connor, 490 U.S. 386, 395 (1989));

20   see also Peruta v. County of San Diego, 824 F.3d 919, 942 (9th Cir. 2016) (en banc) (holding that

21   equal protection and due process claims were “derivative” of the Second Amendment claims and

22   that resolution of the Second Amendment question “necessarily resolves” those “derivative

23   claims”). More specifically, if Plaintiff’s Second Amendment challenge were successful, then his

24   equal protection and due process claims would be redundant. If his Second Amendment

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               The equal protection and due process principles are the same under the Fifth and
26   Fourteenth Amendments. See Schweiker v. Wilson, 450 U.S. 221, 227 n. 6 (1981) (stating that
     “the Fifth Amendment imposes on the Federal Government the same standard required of state
27   legislation by the Equal Protection Clause of the Fourteenth Amendment”); Raditch v. United
     States, 929 F.2d 478, 481 (9th Cir. 1991) (noting that the due process principles are the same
28   under both the Fourteenth Amendment and the Fifth Amendment).
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 1   challenge fails, then his equal protection and procedural due process claims would also fail. His

 2   equal protection claim fails because this case does not involve a suspect classification and rational

 3   basis review applies. See Nordyke v. King, 681 F.3d 1041, 1043 n.2 (9th Cir. 2012) (en banc)

 4   (stating that rational basis scrutiny applies to the plaintiffs’ equal protection claim when the

 5   challenged law is found not to violate the First or Second Amendment and the law does not

 6   involve a suspect classification). Here, the rational basis standard would be met because the

 7   purpose of 18 U.S.C. § 922(g)(4) is related to a legitimate government interest. See Mai v. United

 8   States, 952 F.3d 1106, 1116 (9th Cir. 2020) (agreeing that preventing crime and suicide are

 9   legitimate interests supporting 18 U.S.C. § 922(g)(4).) As for Plaintiff’s procedural due process

10   claim, courts must first determine whether the government action is even “the type . . . to which

11   due process applies.” Harris v. County of Riverside, 904 F.2d 497, 501 (9th Cir. 1990). In the

12   context of 18 U.S.C. § 922(g)(4), courts have concluded that procedural due process principles do

13   not apply. Keyes v. Lynch, 195 F. Supp. 3d 702, 723 (M.D. Pa. 2016) (rejecting the plaintiff’s

14   “contention that he deserved some kind of hearing before or after being subjected to the disability

15   under § 922(g)(4)” because “the statute subsection is clear that anyone who has been committed

16   for mental health is subject to it; thus a hearing on whether the plaintiff is still dangerous is not in

17   fact relevant”); Jefferies v. Sessions, 278 F. Supp. 3d 831, 846 (E.D. Pa. 2017) (agreeing with the

18   district court’s rationale in Keyes that there is no procedural due process right before applying

19   § 922(g)(4) to the plaintiff). Accordingly, an individual does not have a right to a hearing prior to

20   deprivation or post-deprivation of his Second Amendment right under 18 U.S.C. § 922(g)(4). See

21   id.

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 1   Dated: March 15, 2021                         Respectfully Submitted,

 2                                                 XAVIER BECERRA
                                                   Attorney General of California
 3                                                 ANTHONY R. HAKL
                                                   Supervising Deputy Attorney General
 4

 5

 6                                                 /s/ Jerry T. Yen
                                                   JERRY T. YEN
 7                                                 Deputy Attorney General
                                                   Attorneys for State of California and Xavier
 8                                                 Becerra, in his official capacity as
                                                   California Attorney General
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